Michael Schwartz

From:                                            Lang, Robert H. <RHLang@thompsoncoburn.com>
Sent:                                            Tuesday, October 01, 2019 6:52 PM
To:                                              Michael Schwartz
Cc:                                              'Dan Childers'
Subject:                                         RE: VeroBiue/Cassels Brock



Counsel-our apologies, but we will need another week or so, to 10/10/19.


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From: Lang, Robert H.
Sent: Sunday, September 15, 2019 4:07 PM
To: 'Michael Schwartz' <MSchwartz@mdspalaw.com>
Cc: Dan Childers <dchilders@elderkinpirnie.com>
Subject: VeroBiue/Cassels Brock

Counsel-we need an extension to respond to Defendants' inten-ogatories and document requests, to October 1,
2019. Thank you for your anticipated courtesy.




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